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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

LEONID TREYGER,
                                                                      ORDER
                        Plaintiff,                                23-cv-02099 (HG)

                v.

GIO WINE & SPIRITS CORP.
and GBA 526 LLC,

                        Defendants.


HECTOR GONZALEZ, United States District Judge:

       Plaintiff moves the Court: (i) to impose sanctions on Defendant Gio for purported

deficiencies in its document productions, see ECF No. 68 at 2; (ii) to impose sanctions on

Defendant GBA for the same reason, id.; and (iii) “to schedule a pre-motion conference, order

GBA to submit documents or information not provided to Plaintiff in the future, either in its

responses to any document or motions to be filed by Plaintiff or at trial,” id. at 4. The Court

previously ordered Plaintiff to “raise any disputes related to purported deficiencies in [GBA’s]

production of documents or interrogatories in a jointly drafted letter no longer than five pages

that may attach the relevant discovery requests and responses as exhibits.” See December 15,

2023, Text Order. Plaintiff failed to comply with this directive and instead filed a pre-motion

letter unilaterally and without meeting and conferring with GBA.

       The Court declines to order sanctions against Gio for purported deficiencies in its

document productions. The Court previously ordered that “if [Gio] attempts to introduce into

evidence other financial information that falls within the scope of Plaintiff’s requests but that

Defendant has not produced, in an attempt to show that a particular alteration to Defendant’s

store was not ‘readily achievable’ under the ADA, the Court will likely decline to consider that

evidence on summary judgment and may preclude such evidence from being admitted at trial, in
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addition to any other sanctions that may be warranted.” See ECF No. 53 at 3. Gio rightly notes

that Plaintiff’s brief reference to it in the instant letter motion does not identify any specific

deficiency so as to render sanctions appropriate. See ECF No. 70 at 1. Otherwise, the Court’s

previous warning regarding unproduced evidence remains in effect. See ECF No. 53 at 3.

        The Court also declines to order sanctions against GBA for purported deficiencies in its

document productions. In its prior Order, the Court ordered GBA to “serve on Plaintiff either a

privilege log that provides the information required by Local Civil Rule 26.2 or, alternatively, a

letter confirming that Defendant GBA 526 LLC is not actually withholding any documents or

information responsive to Plaintiff’s discovery requests based on attorney-client privilege or the

attorney work product doctrine” on or before December 29, 2023. See December 15, 2023, Text

Order. Plaintiff’s letter confirms that GBA provided it with such confirmation by the deadline,

see ECF No. 68 at 1, rendering sanctions inappropriate.

        Finally, the Court orders GBA to supplement its responses for those interrogatories raised

by Plaintiff (nos. 13, 14, 17, 18, and 25). For those interrogatories, GBA referred Plaintiff to

“publicly filed documents.” See ECF No. 68-2 (GBA’s Responses and Objections to Plaintiff’s

First Set of Interrogatories). GBA now contends that Plaintiff has access to the same information

through deposition testimony and expert disclosures. See ECF No. 71 at 3 n.10. But it is well-

settled that “a party may not incorporate deposition testimony . . . in lieu of offering a complete

and separate response to each interrogatory.” Pouliot v. Paul Arpin Van Lines, Inc., No. 3:02-

CV-1302, 2004 WL 1368869, at *2 (D. Conn. June 14, 2004). Of course, GBA may rely on

information that has emerged from discovery in responding to Plaintiff’s interrogatories, but

vague references to other sources of information do not “fully” answer each interrogatory. Fed.

R. Civ. P. 33(b)(3). GBA shall supplement its responses to the challenged interrogatories on or



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before February 9, 2024. If GBA does not comply, it will likely face sanctions, as fact discovery

has been closed for a considerable length of time.

        In light of this Order, the Court denies as moot Plaintiff’s letter motion for an extension

of time to respond to Defendants’ responses. See ECF No. 72. The parties’ deadline to file pre-

motion letters regarding proposed motions for summary judgment and to exclude the testimony

of expert witnesses, which the Court has extended twice, remains today, January 26, 2024. See

January 23, 2024, Text Order.

        The Court reminds the parties that they must confer in good faith before making

discovery or other non-dispositive motions, E.D.N.Y. Local Civil Rule 37.3(a), and must comply

with all applicable orders and rules. Going forward, the Court is unlikely to excuse

noncompliance with these obligations, which have contributed to an excessive number of

requests for relief.

        SO ORDERED.

                                                      /s/ Hector Gonzalez
                                                      HECTOR GONZALEZ
                                                      United States District Judge
Dated: Brooklyn, New York
       January 26, 2024




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